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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
                                                                  :
    In re:                                                        :   Chapter 11
                                                                  :
    ORION HEALTHCORP, INC1.                                       :   Case No. 8-18-71748 (AST)
                                                                  :
                          Debtors.                                :   (Jointly Administered)
                                                                  :
    HOWARD M. EHRENBERG IN HIS CAPACITY                           :
    AS LIQUIDATING TRUSTEE OF ORION                               :   Adv. Pro. No. 8-20-8049 (AST)
    HEALTHCORP, INC., ET AL.,                                     :
                                                                  :
                           Plaintiff,                             :
                                                                  :
    v.                                                            :
                                                                  :
    ARVIND WALIA; NIKNIM MANAGEMENT                               :
    INC.,                                                         :
                                                                  :
                             Defendant(s)                         :
                                                                  :

                          CASE MANAGEMENT AND DISCOVERY PLAN

             In order to promote the efficient and expeditious disposition of the above-captioned

adversary proceeding (the “Adversary Proceeding”), the following schedule shall apply to the

Adversary Proceeding. This Discovery Plan is submitted in compliance with the Initial

Scheduling Order issued by the Court on June 22, 2020, and in accordance with Fed. R. Civ.

P. 16(b) and 26(f).


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  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are: Orion Healthcorp, Inc. (7246); Constellation Healthcare Technologies, Inc. (0135); NEMS Acquisition,
LLC (7378); Northeast Medical Solutions, LLC (2703); NEMS West Virginia, LLC (unknown); Physicians Practice
Plus Holdings, LLC (6100); Physicians Practice Plus, LLC (4122); Medical Billing Services, Inc. (2971); Rand
Medical Billing, Inc. (7887); RMI Physician Services Corporation (7239); Western Skies Practice Management, Inc.
(1904); Integrated Physician Solutions, Inc. (0543); NYNM Acquisition, LLC (unknown) Northstar FHA, LLC
(unknown); Northstar First Health, LLC (unknown); Vachette Business Services, Ltd. (4672); Phoenix Health, LLC
(0856); MDRX Medical Billing, LLC (5410); VEGA Medical Professionals, LLC (1055); Allegiance Consulting
Associates, LLC (7291); Allegiance Billing & Consulting, LLC (7141); New York Network
Management, LLC (7168). The corporate headquarters and the mailing address for the Debtors listed
above is 1715 Route 35 North, Suite 303, Middletown, NJ 07748.



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        1.       Initial disclosures pursuant to Fed. R. Civ. P. 26(a)(1) shall be completed no

later than September 21, 2020.

        2.       The parties have met and conferred regarding documents maintained in

electronic format. Plaintiff has identified the issue of the Debtors’ servers, some of which

have been coded into a searchable format while others which would require additional time

and expenditures. Defendant has identified no potential issue. The parties will cooperate to

facilitate the exchange of relevant evidence stored in any electronic format.

        3.       All fact discovery shall be completed no later than January 20, 2021.

        4.       The parties are to conduct discovery in accordance with the Federal Rules of

Civil Procedure ("Civil Rules"), Federal Rules of Bankruptcy Procedure ("Bankruptcy

Rules") and the Local Rules of the Bankruptcy Court for the Eastern District of New York

("Local Bankruptcy Rules"). The parties anticipate discovery on the subject transfers,

product and services rendered, and the surrounding business dealings.

        5.       Expert discovery

                 a.          All expert discovery shall be completed no later than April 2, 2021.

                 b.          No later than February 1, 2021: (i) the party bearing the burden of proof

on any issue (including the issue of solvency, to the extent the Defendant intends to challenge the

statutory presumption of insolvency) shall make all disclosures required under Fed. R. Civ. P.

26 (a)(2); and (ii) all rebuttal or responsive expert reports and other disclosures required under

Fed. R. Civ. P. 26 (a)(2) shall be made no later than thirty (30) days thereafter.




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         6.      Mediation

         If the parties desire and agree to mediate their dispute(s) at any time during the pendency

of this adversary proceeding, they shall jointly file a stipulation (the “Stipulation”) with the

Court

         7.      Motions

                 a.          All motions and applications shall be governed by the Civil Rules,

Bankruptcy Rules and Local Bankruptcy Rules, including pre-motion conference

requirements. Pursuant to the authority provided by Fed. R. Civ. P. 16(b)(2), a motion for

summary judgment will be deemed untimely unless a request for a pre-motion conference

relating thereto (see Local Bankruptcy Rule 7056-1) is made in writing within fourteen (14)

days after the close of fact discovery (see paragraph 3 hereof).

         8.      Trial

                 a.          Trial in this matter is scheduled for ____________, 2021. The proposed

Joint Pretrial Order shall be prepared and submitted on or before_________________, 2021.

Plaintiff’s trial estimate is one day. Defendant’s trial estimate is one day.

         9.      This ORDER may not be modified or the dates herein extended, except by

further Order of this Court for good cause shown. Any application to modify or extend any

deadline established by this Order shall be made in a written application no less than five (5)

days prior to the expiration of the date sought to be extended.




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Dated: September 8, 2020

 PACHULSKI STANG ZIEHL & JONES LLP                     ROSEN & ASSOCIATES P.C.
 Attorneys for Plaintiff Howard M. Ehrenberg,          Counsel to Arvind Walia and
 in his capacity of Liquidating Trustee of Orion       Niknim Management Inc.]
 Healthcorp, Inc., et al

 By:       /s/ Jeffery P. Nolan                        By:      /s/ Sanford P. Rosen
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SO ORDERED:




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